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                        UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA


                v.                      No. 24-cr-10071-FDS


ERIC TABARO NSHIMIYE,
         Defendant.



 MEMORANDUM AND ORDER ON DEFENDANT’S MOTION FOR LEAVE TO PROCEED
     EX PARTE AND UNDER SEAL FOR ISSUANCE OF LETTERS ROGATORY


CABELL, Ch.U.S.M.J.

     The    defendant      Eric    Tabaro   Nshimiye,      a/k/a    Eric    Tabaro

Nshimiyimana, is charged in an indictment with violations of:                     18

U.S.C. § 1623(a) (perjury); 18 U.S.C. §§ 1503, 2 (obstruction of

justice and aiding and abetting); and 18 U.S.C. § 1001(a)(1)

(falsifying, concealing, and covering up a material fact by trick,

scheme,    or   device).      (D.    11).       The   charges     stem   from    the

defendant’s purportedly false claims in connection with:                   (1) his

May 1995 application for classification as a refugee in this

country; (2) his March 1997 application for permanent residency;

and (3) his 2001 application for United States citizenship.                      The

perjury and obstruction of justice charges pertain to his trial

testimony in United States v. Teganya, 1:17-cr-1-292-FDS.                   (D. 1-

1, ¶¶ 35-36).        The backdrop for all the charges is the defendant’s
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allegedly active role in the 1994 genocide as a Hutu and his

persecution of Tutsis in Rwanda.             (D. 11, ¶¶ 11, 13-16).

      At present, the defendant moves for leave to proceed ex parte

and under seal on a motion requesting letters rogatory to prevent

a    premature    disclosure     of     his    trial   strategy,       witnesses’

identities,      and   documents      protected    under    the    work    product

doctrine.    First, he asks to proceed ex parte with respect to the

filing and the court’s adjudication of the motion for letters

rogatory.     Second, he seeks to seal the documents received in

response to the letters rogatory by the court and to disclose to

the government the documents that fall under the Federal Rule of

Criminal Procedure 16 (“Rule 16”) and the local rules of this

court. 1   For the following reasons, the motion (D. 55) is allowed.

I.   The Parties’ Arguments

      As to proceeding ex parte, the defendant argues that the use

of ex parte applications for subpoenas under Federal Rule of

Criminal Procedure 17(c) (“Rule 17(c)”) should also apply to



1The defendant does not explicitly ask to seal the responsive documents received
by the court.     Rather, he relies on 28 U.S.C. § 1781(b)(2) (“section
1781(b)(2)”), submits that the statute does not require simultaneous production
of responsive materials to both the government and the defense, and “requests
that any responses to the letters rogatory . . . be provided to the government
in accordance with” Rule 16 and the local rules. (D. 55).

Presumably, the defendant therefore moves to seal the responsive materials
initially upon receipt and, to the extent the materials fall outside Rule 16
and the local rules, have the materials remain sealed until the conclusion of
the case. Relatedly, section 1781(b)(2) allows a federal court to transmit a
letter rogatory to a foreign tribunal and to have any responsive materials,
“return[ed] in the same manner,” i.e., to the federal court.


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letters      rogatory. 2   This    is    necessary,   or   so    the    defendant

contends, to avoid divulging his trial strategy and foregoing his

Sixth Amendment right to obtain evidence.             Although the defendant

uses Rule 17(c) as an analogy to support an ex parte request for

letters rogatory, he relies on the court’s authority under section

1781(b)(2) and the court’s inherent authority in seeking the

letters rogatory. 3        Anent to sealing, the defendant similarly

reasons that disclosing the responsive evidence immediately upon

receipt to the government would divulge his trial strategy in

contravention of his Sixth Amendment right to obtain evidence as

well    as   reveal   witnesses’    identities    and    his    counsel’s       work

product.

       In    opposition,   the   government    accurately       notes   that     the

defendant fails to cite a single case, statute, or treaty which

authorizes a court to grant an ex parte application for letters

rogatory in a criminal case.            In addition, the government argues

that section 1781(b)(2) does not provide authority for the court


2 To provide context, Rule 17(c) is “intended exclusively for trial or a formal

hearing.” United States v. Pereira, 353 F. Supp. 3d 158, 160 (D.P.R. 2019).
Thus, a “Rule 17(c) subpoena is ‘trial-focused’ and may be used ‘only to obtain
materials admissible as evidence at trial’” or an adversarial hearing.       Id.
(citations omitted). Rule 17(c) is not a discovery device. United States v.
Castro-Ward, 385 F.Supp.3d 156, 158 (D.P.R. 2018) (citation omitted); see United
States v. Nixon, 418 U.S. 683, 698 (1974) (describing fundamental characteristic
of “subpoena duces tecum in criminal cases” as “not intended to provide a means
of discovery for criminal cases”).

3
  In no uncertain terms, the defendant states “that [he] is not seeking
the issuance of letters rogatory under this Court’s Rule 17 authority.
Instead, [he] relies on the Court’s authority under 28 U.S.C. § 1781 and its
inherent powers.” (D. 55).

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to issue letters rogatory.         Rather, in conjunction with section

1781(a), which empowers the United States Department of State to

receive and transmit a letter rogatory, section 1781(b) simply

notes   that   nothing   in   section       1781(a)   “precludes     .   .   .   the

transmittal of a letter rogatory” from a United States tribunal

“to the foreign or international tribunal, officer, or agency to

whom is addressed,” according to the government.                 (D. 58) (quoting

section 1781(b)(2)).       Hence, per this argument, any authority to

issue letters rogatory arises from the court’s inherent power.

Next, the government asserts that a number of courts have concluded

that a Rule 17(c) subpoena cannot be issued ex parte.                    More, the

inevitable delay in proceeding by letters rogatory ex parte is

potentially unfair to the government.            Lastly, government submits

that the defendant’s anticipated use of a “private agent” to serve

the letters rogatory without any oversight interjects uncertainty

and increases the potential for corruption. 4




4 As to this last point, the court is unpersuaded. The defendant proposes to
use “appropriate counsel to receive the letters from this Court and submit them
to the appropriate foreign jurisdiction.” (D. 55). The government’s assumption
of corruption in foreign tribunals, even if a request is made to the Rwanda
government, is speculative.

Separately, the court reserves the ability to find that the defendant’s use of
private counsel to serve the letter(s) is inappropriate upon review of the
motion for issuance of letters rogatory.


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II.    DISCUSSION

A.    Letters Rogatory Process and Section 1781(b)(2) Authority

       To briefly explain the process, a letter rogatory is often

described as:

       “the medium, in effect, whereby one country, speaking through
       one of its courts, requests another country, acting through
       its own courts and by methods of court procedure peculiar
       thereto and entirely within the latter’s control, to assist
       the administration of justice in the former country; such
       request being made, and being usually granted, by reason of
       the comity existing between nations in ordinary peaceful
       times.”

Id. (quoting Abraxis BioScience, LLC v. Actavis, LLC, No. 2:16-

cv-1925 (JMV), 2017 WL 2293347, at *2 (D.N.J. May 25, 2017),

quoting DBMS Consultants Ltd. v. Computer Assoc., Int’l, 131 F.R.D.

367, 369 (D. Mass. 1990)) (emphasis added); accord United States

v. Hoskins, Criminal No. 3:12cr238 (JBA), 2015 WL 4874921, at *5

(D. Conn. Aug. 14, 2015) (same) (citation omitted); see John

Fellas, Transnational Litigation § 25:52 (2024) (Where defendant

seeks evidence in a foreign country, “foreign procedural rules

must apply.”).

      A federal court’s authority “to issue requests for judicial

assistance through letters rogatory” in criminal cases emanates,

“at least in part,” from section 1781(b)(2).              United States v.

Strong, 608 F. Supp. 188, 193-194 (E.D. Pa. 1985) (discussing

federal court’s authority at length including court’s power “to

transmit or receive [letters rogatory]” under section 1781(b)(2)


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post-indictment); see Hoskins, 2015 WL 4874921, at *5. Undeniably,

a federal court also has the inherent power to issue letters

rogatory in criminal cases.        United States v. Tao, Case No. 19-

20052-JAR, 2021 WL 5205446, at 44 *6 (D. Kan. Nov. 9, 2021))

(stating in criminal case that district courts have “inherent

authority to issue letters rogatory”); Hoskins, 2015 WL 4874921,

at *5 (stating in criminal case that “courts have both statutory

and inherent authority to issue letters rogatory”); Strong, 608 F.

Supp. at 193-194. 5

       Section    1781(b)(2),    placed     in   the   context     of   section

1781(a), reads as follows:

      § 1781. Transmittal of letter rogatory or request

      (a) The Department of State has power . . .

      (2) to receive a letter rogatory issued, or request made, by
      a tribunal in the United States, to transmit it to the foreign
      or international tribunal, officer, or agency to whom it is
      addressed, and to receive and return it after execution.

      (b) This section does not preclude-- . . .

      (2) the transmittal of a letter rogatory or request directly
      from a tribunal in the United States to the foreign or
      international tribunal, officer, or agency to whom it is
      addressed and its return in the same manner.

28 U.S.C. § 1781 (emphasis added).           Per the import of the above

language,   section    “1781(b)(2)    allows     courts   to   issue    letters

rogatory directly to a foreign tribunal or agency.”              United States


5 The government’s argument that the authority to issue letters rogatory in
criminal cases arises only from the court’s inherent powers as opposed to also
under section 1781(b)(2) therefore fails to persuade.

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v. Tuma, 738 F.3d 681, 688 (5th Cir. 2013).                  The return in the

“same manner,” 28 U.S.C. § 1781(b)(2), unambiguously provides that

the letter rogatory with the requested information, if any, is

transmitted back to the tribunal in the United States.

       In addition, “[t]he standard for issuance of a letter rogatory

is the same as if the evidence were located in the United States.”

United States v. Van Avermaet, No. 21-cr-443-TSC-ZMF-4, 2024 WL

3835320, at *1 (D.D.C. Aug. 15, 2024) (addressing outgoing letters

rogatory); accord Hoskins, 2015 WL 4874921, at *5 (adjudicating

motion    seeking    outgoing    letters     rogatory)      (citation     omitted).

This     means   that    the    defendant,     as    the    party     seeking      the

information, must “satisfy both the requirements of Federal Rule

of Criminal Procedure 17 and United States v. Nixon to obtain

evidence that is located abroad.”            Van Avermaet, 2024 WL 3835320,

at *1; Hoskins, 2015 WL 4874921, at *5. To that end, the “proponent

of [a Rule 17(c)] subpoena,” i.e., the defendant, “must demonstrate

‘(1)    relevancy;      (2)    admissibility;       [and]   (3)     specificity.’”

United States v. Castro-Ward, 385 F. Supp. 3d 156, 159 (D.P.R.

2018) (citing Nixon, 418 U.S. at 699-700) (additional citation

omitted). 6


6 As an aside, “[t]he enforcement of a pretrial subpoena duces tecum is
committed to the sound discretion of the district court.” United States v.
Lieberman, 608 F.2d 889, 904 (1st Cir. 1979) (citing Nixon, 418 U.S. at 702)
(additional citation omitted). In contrast, under Federal Rule of Criminal
Procedure Rule 15(a) (“Rule 15(a)”), a court may allow a motion to depose a
witness “because of exceptional circumstances and in the interest of
justice.” Fed. R. Crim. P. 15(a)(1). While the Rule 15(a) “standard confers
discretion upon the district court to permit criminal depositions, ‘this

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B.   Ex Parte Application

      As noted, the defendant seeks to file and have the court

decide the motion to issue letters rogatory ex parte.                To briefly

recap and add detail to the previously-summarized argument, the

defendant asserts that because Rule 17(c) allows ex parte requests,

the court should permit ex parte letters rogatory requests.                   The

government responds that not all courts allow ex parte Rule 17(c)

subpoenas.    Even if the court concludes that Rule 17(c) allows the

movant to obtain a Rule 17 subpoena ex parte, the government

contends that such a conclusion would not equally apply to an

application for letters rogatory.          Further, whereas the government

acknowledges that the defendant should not have to reveal his trial

strategy unless required by procedural or evidentiary rules, the

government submits that portions of the letters rogatory process

might not reveal such strategy.

      To   begin,   the   government   is   correct    that    not   all   cases

uniformly favor ex parte applications under Rule 17(c). See United

States v. Garg, Case No. CR21-0045-JCC, 2024 WL 37047, at *2 (W.D.

Wash. Jan. 3, 2024) (noting, consistent with the court’s reasoning,

that leading treatises “have concluded that, ‘[i]f a [Rule 17(c)]

Motion is made it cannot be ex parte’”) (citations omitted).

Crucially, however, decisions in this circuit support the use of


discretion is not broad, and should be exercised carefully.’” United States
v. Gasana, Criminal No. 20-cr-016-LM, 2024 WL 3757203, at *3 (D.N.H. Aug. 12,
2024) (citing First Circuit cases).

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ex   parte    applications      where     necessary    to    avoid     a   premature

disclosure of trial strategy and witness lists.

       To elaborate, first, as stated by the First Circuit, “Rule

17(c) does not expressly prohibit ex parte requests for subpoenas,

and courts have found them to be permissible.”                     United States v.

Kravetz, 706 F.3d 47, 53 n.1 (1st Cir. 2013) (citing three criminal

cases 7 finding ex parte Rule 17 applications appropriate to avoid

defendant’s premature disclosure of trial strategy and witness

list). 8     Second, as indicated, all three cases cited in Kravetz

justified ex parte Rule 17(c) applications in whole or in part to

prevent divulging trial strategy, witness lists, or counsel’s work

product.     See Peters, 2007 WL 4105671, at *1 (“permitting ex parte

applications for Rule 17 subpoenas ‘where a party can demonstrate

that    it   would   be   required   to       prematurely   disclose       its   trial

strategy, witness list, or other privileged information in its

application’” (quoting United States v. Weissman, No. 01 CR 529,

2002 WL 1467845, at *1-*2 (S.D.N.Y. July 8, 2002))); Daniels, 95




7 United States v. Peters, No. 03-CR-211S, 2007 WL 4105671, at *1 (W.D.N.Y.

2007); United States v. Daniels, 95 F. Supp. 2d 1160, 1162–63 (D. Kan. 2000);
United States v. Beckford, 964 F. Supp. 1010, 1025–31 (E.D. Va. 1997).

8 To be sure, the court in Kravetz addressed a different issue, namely, a
journalist’s request to access Rule 17(c) materials based upon an insufficient
showing of a special need and the absence of a presumptive public right of
access under either the common law or the First Amendment.          Id. at 56.
Nonetheless, the court’s concomitant statement, albeit dicta, that Rule 17(c)’s
text does not prohibit ex parte requests and that Peters, Daniels, and Beckford
found them permissible signals approvingly that an ex parte request may be
appropriate to avoid disclosing trial strategy, witnesses’ identities, and
counsel’s work product. See id. at 53 n.4.

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F. Supp. 2d at 1163 (finding ex parte applications permissible

where source or integrity of “evidence might be imperiled” or trial

strategy disclosed) (citation omitted); Beckford, 964 F. Supp. at

1027 (“If [Rule 17(c)] motion could never be made ex parte, the

defendant would, in some cases, be forced to reveal his trial

strategy, witnesses’ identities or his attorney’s work-product” to

secure “issuance of a pre-trial subpoena.”).

      Other   courts,      including    one    in   this   district,     similarly

reason    that   ex   parte    Rule    17(c)    subpoenas    are   justified     to

circumvent revealing trial strategy, witnesses’ identifies, and/or

counsel’s work product.          Thus, the court in United States v.

Colburn, Criminal No. 19-10080-NMG, 2020 WL 6566508 (D. Mass. Nov.

9, 2020), denied the government’s motion to compel documents the

defendants obtained through ex parte Rule 17(c) subpoenas on the

basis they were protected by the work product doctrine.                    Id. at

*1.    As explained in Colburn, “Although the text of Rule 17(c)

does not explicitly state that ex parte applications are permitted,

. . . common sense dictates that where a defendant cannot make the

required    showing   of    relevancy,       admissibility,      and   specificity

without revealing trial strategy and other protected work product,

he must be permitted to make the request ex parte.”                     Id. at *2

(citation omitted); see also United States v. Reyes, 162 F.R.D.

468, 470 (S.D.N.Y. 1995) (If Rule 17(c) “motion could never be

made ex parte, the defendant would, in some cases, be forced to

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reveal his trial strategy, witnesses’ identities or his attorney’s

work-product     in   order     to   secure    the   issuance     of   a   pre-trial

subpoena.”).

      Here, the defendant represents that it cannot meet its burden

under the Nixon tripartite standard without prematurely revealing

trial strategy, potential witnesses’ identities, and counsel’s

work product.         At present, the court credits the defendant’s

representation. 9 Separately, the government has had an opportunity

to be heard and address the ex parte procedure in the government’s

opposition to the pending motion.              See Beckford, 964 F.Supp. at

1030.    As aptly explained in Beckford:

      a party seeking an ex parte pre-trial subpoena duces tecum
      will be able to serve a motion on the adversary asking that
      the subpoena ultimately be issued ex parte and explaining why
      it is necessary to proceed ex parte.        That affords the
      opposing party an opportunity to be heard on the need for the
      ex parte procedure.

Id.

      Lastly, as earlier indicated, the court will likely utilize

Rule 17 and the Nixon tripartite standard to adjudicate a motion

for letters rogatory.          As stated, the court credits, for the time

being, the defendant’s representations that premature disclosure




9 However, the court reserves the ability to conclude otherwise upon review of

the ex parte motion and, if warranted, direct the defendant to serve the motion
on the government. See generally Beckford, 964 F.Supp. at 1031 (When presented
with “ex parte motion for a Rule 17(c) pre-trial subpoena” and “ex parte
procedure is unwarranted, the court should unseal the motion, and provide notice
to the opposing party.”).


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will reveal the defendant’s trial strategy, witnesses’ identities,

and/or counsel’s work product.             This renders the government’s

argument that a Rule 17(c) subpoena sought ex parte would not apply

equally to an application for letters rogatory less impactful.                  To

be sure, the government points out, correctly, that a recipient of

a Rule 17(c) subpoena may move to quash the subpoena under Rule

17(c)(2).      In contrast, the foreign tribunal, officer, or agency

will decide the methods to collect the requested evidence.                     See

Coburn, 2022 WL 357217, at *15 (describing letters rogatory as

requested country “acting through its own courts and by methods of

court procedure peculiar thereto and entirely within the latter’s

control . . .”).        Moreover, as the government points out, the

foreign court or foreign official may have an obligation to engage

in an open and transparent process even though this court is

proceeding ex parte.      These differences, however, do not override

the defendant’s interest in avoiding the premature disclosure of

the    defendant’s    trial    strategy,     witnesses’       identities,      and

counsel’s work product.

      In sum, the defendant may file the motion for letters rogatory

ex parte. 10    See generally United States v. Reagan, 453 F.2d 165,

173 (6th Cir. 1971) (rejecting argument that lower court exceeded

its jurisdiction and allowing pre-indictment issuance of ex parte


10 It is therefore not necessary to address the Sixth Amendment argument the
defendant raises to support the ex parte process.


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request for letters rogatory).         The court will review the motion

under     the   Nixon   and    Rule    17(c)       standard      of   relevance,

admissibility, and specificity.

     To avoid delay in the event the court finds the defendant

satisfied the Nixon requirements, the motion should include the

proposed letter(s) rogatory in the correct form with the name and

complete address of the “tribunal, officer, or agency to whom [the

letter]    is   addressed,”   28   U.S.C.   §     1781(a)(2),     along    with    a

translated copy in the applicable language of the addressee.                     See

John Fellas, Transnational Litigation § 25:52 (2024) (Although the

letter rogatory is issued by the court, “[i]t is usual that a draft

of the letter rogatory is filed by” party seeking the evidence);

see also 22 C.F.R. § 92.66(b) (setting out requirements of seeking

deposition testimony).        Further, the defendant should include a

statement that he is willing to waive the speedy trial act during

the process.

     Lastly, against the backdrop of the government’s concern that

it may take a year or more to receive a response and thereby

potentially render the process unfair to the government, the

defendant should include a statement(s) regarding the amount of

time it will likely take to complete the process to obtain the

material sought for each proposed letter.              This consideration may

be quite germane in determining whether it would or would not be

appropriate to endorse the defendant’s request to issue letters

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rogatory in this case.         The defendant should file the motion for

letters rogatory as soon as practicable but no later than January

17, 2025.

C.   Sealing the Response

      The defendant seeks to seal the documents, if any, produced

in response to the letters rogatory.                The request is premature

because it assumes the court will allow the motion for letters

rogatory,   which   has    not    been    filed.      Nonetheless,      the   court

addresses the request in the interest of thoroughness.

      Significantly, the defendant requests and, more importantly,

the court requires that any response to the letters rogatory is

subject to production to the government pursuant to Rule 16 and

the local rules of this court.                See generally Colburn, 2020 WL

6566508, at *4 (citing with approval unpublished decision by

magistrate judge in this district denying “government’s request to

view all documents produced in response to defendant’s Rule 17(c)

subpoenas” because:         “Our Local Rules provide for the orderly

production of information before trial”).                    Further, as stated

previously, the court will credit at this juncture the defendant’s

representation      that      immediate       disclosure      will   reveal       the

defendant’s    trial       strategy,      witnesses’         identities,      and/or

counsel’s   work    product.        Accordingly,       the    foreign    materials

produced, if any, may remain sealed until the conclusion of the



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case unless subject to production under Rule 16 and/or the local

rules or an order by the presiding judge.

III.    CONCLUSION

       In accordance with the foregoing discussion, the motion for

leave to proceed ex parte and under seal on a motion for issuance

of letters rogatory (D. 55) is ALLOWED.



                                      /s/ Donald L. Cabell
                                      DONALD L. CABELL, Ch.U.S.M.J.


DATED:     December 17, 2024




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